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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION


 BRANDON LEON HAMILTON,

               Plaintiff,                                CIVIL ACTION NO.: 6:20-cv-51

        v.

 LT. JAMIE SMILEY; CPL. AMANDA
 BROWN; and TOOMBS COUNTY
 SHERIFF’S OFFICE,

               Defendants.


                                          ORDER

       After an independent and de novo review of the entire record, the undersigned concurs with

the Magistrate Judge’s Report and Recommendation, (doc. 4). Plaintiff did not file Objections to

the Report and Recommendation.

       Accordingly, the Court ADOPTS the Magistrate Judge’s Report and Recommendation as

the opinion of the Court. The Court DISMISSES without prejudice Plaintiff’s Complaint based

on his failure to prosecute and failure to follow this Court’s Order, DIRECTS the Clerk of Court

to CLOSE this case and enter the appropriate judgment of dismissal, and DENIES Plaintiff in

forma pauperis status on appeal.

       SO ORDERED, this 4th day of August, 2020.




                                    R. STAN BAKER
                                    UNITED STATES DISTRICT JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA
